Case 2:07-cv-01929-ABC-AGR Document 122-25 Filed 04/18/08 Page 1 of 8 Page ID
                                  #:741
Case 2:07-cv-01929-ABC-AGR Document 122-25 Filed 04/18/08 Page 2 of 8 Page ID
                                  #:742
Case 2:07-cv-01929-ABC-AGR Document 122-25 Filed 04/18/08 Page 3 of 8 Page ID
                                  #:743
Case 2:07-cv-01929-ABC-AGR Document 122-25 Filed 04/18/08 Page 4 of 8 Page ID
                                  #:744
Case 2:07-cv-01929-ABC-AGR Document 122-25 Filed 04/18/08 Page 5 of 8 Page ID
                                  #:745
Case 2:07-cv-01929-ABC-AGR Document 122-25 Filed 04/18/08 Page 6 of 8 Page ID
                                  #:746
Case 2:07-cv-01929-ABC-AGR Document 122-25 Filed 04/18/08 Page 7 of 8 Page ID
                                  #:747
Case 2:07-cv-01929-ABC-AGR Document 122-25 Filed 04/18/08 Page 8 of 8 Page ID
                                  #:748
